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		OSCN Found Document:FORREST v. CITY OF TULSA

					

				
  



				
					
					
						
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				FORREST v. CITY OF TULSA2019 OK 16Case Number: 115803Decided: 04/02/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 16, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



CHRISTOPHER FORREST, Petitioner,
v.
CITY OF TULSA, OWN RISK #10435, and THE WORKERS'COMPENSATION COMMISSION, Respondents.



MEMORANDUM OPINION




COMBS, J.:


¶1 This is an appeal of an Order Affirming Decision of Administrative Law Judge by the Oklahoma Workers' Compensation Commission En Banc filed on February 21, 2017. Petitioner suffered a compensable injury after the effective date of the Administrative Workers' Compensation Act (AWCA) (Title 85A). The Administrative Law Judge (ALJ) awarded Petitioner Permanent Partial Disability (PPD). The ALJ also determined the City of Tulsa was entitled to a credit from the PPD award in the sum of $1,095.20, pursuant to 85A O.S. § 89. The Petitioner challenged the constitutionality of this credit. The ALJ found the credit against PPD awards was constitutional. The Oklahoma Workers' Compensation Commission En Banc affirmed. The dispositive issue on appeal concerns the constitutionality of the employer credit against PPD awards. This cause was assigned to this office on March 28, 2018.

¶2 Upon review of the record and briefs of the parties, this Court has determined the issues raised in this appeal have already been decided in our recent opinion in Braitsch v. City of Tulsa, 2018 OK 100, ____P.3d______, 2018 WL 6617141. In Braitsch, this Court held the credit provided under 85A O.S. § 89 was constitutional. The Order of the Oklahoma Workers' Compensation Commission En Banc is affirmed.


¶3 Wyrick, V.C.J., Kauger, Winchester, Combs and Darby, JJ., concur.

¶4 Edmondson, J., concurs by reason of stare decisis.

¶5 Gurich, C.J., Colbert and Reif, JJ., dissent.







	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
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	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2018 OK 100, 436 P.3d 14, BRAITSCH v. CITY OF TULSACited
Title 85A. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85A O.S. 89, Reimbursement - DeductionsDiscussed


	
	








				
					
					
				

		
		

	
		
			
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